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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION



 MALIBU MEDIA,LLC                                   CASE NO. l:17-cv-01343-LO-IDD

                   Plaintiff,

 V.



 XINNAN LIU,

                    Defendant




                        ORDER ON STIPULATION OF DISMISSAL

        THIS CAUSE came before the Court upon the Parties' Stipulation to Dismiss all Plaintiff

 Malibu Media, LLC's and Defendant Xinnan Liu's claims against each other with prejudice, and

 the Court being duly advised in the premises does hereby:

        ORDER AND ADJUDGE:



        1. All Plaintiffs and Defendant Xinnan Liu's claims against each other are hereby

            dismissed with prejudice.

        2. Each party shall bear its own attorneys' fees and costs.

        3. This case is closed for administrative purposes.

        SO ORDERED this ^T^day of. ^c9r                          2018.

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                                              LiUNlTED SlEATES DISJRICT JUDGE
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